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  IT IS ORDERED as set forth below:



  Date: June 15, 2022
                                                   ________________________________
                                                               Paul Baisier
                                                       U.S. Bankruptcy Court Judge

 _______________________________________________________________


                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                     )      CHAPTER 11
                                           )
ATLANTA LIGHT BULBS, INC.,                 )      CASE NO.: 22-52950-PMB
                                           )
         Debtor.                           )

  ORDER GRANTING MOTION FOR APPOINTMENT OF CHAPTER 11 TRUSTEE

         THIS MATTER is before the Court on The Official Committee of Unsecured Creditors of

Atlanta Light Bulbs, Inc.’s (the “Committee”) Motion for Appointment of Chapter 11 Trustee

(“Motion”) [Docket No. 51]. A hearing on the Motion was held on June 13, 2022 (the “Hearing”).

On the same date, hearings were held on Tandem Bank's Motion to Dismiss Case [Docket No. 23]

which was supplemented on June 10, 2022 [Docket No. 40]; Sun Court Partners, LP’s Motion for

Relief from Stay [Docket No. 28]; Tandem Bank’s Motion for Relief from Stay [Docket No.

33]; and Tandem Bank’s Motion to Prohibit Use of Cash Collateral [Docket No. 36] (the

“Additional Motions”). Debtor was given notice of all of the Additional Motions, but did not

appear for any of the hearings on June 13, 2022. Jason Torf and Kathleen Furr appeared on

behalf of the Committee. Leslie Pineyro and Leon Jones appeared on behalf of Tandem Bank.

Michael Robl and Maxwell Bowen appeared on behalf of Jesse Root. Kristen Yadlosky
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appeared on behalf of Sun Court Partners, LP. Thomas W. Dworschak appeared on behalf of the

United States Trustee.

        For the reasons stated on the record, and based on good cause shown, the Court finds that

it is appropriate to grant the Motion and appoint a Chapter 11 Trustee. See, e.g., Allen v. King,

461 B.R. 709 (D. Mass. 2011) (finding that the bankruptcy court had the authority to appoint a

Chapter 11 Trustee sua sponte). Even if the Motion were not pending, the Court finds that

appropriate circumstances exist in this case based on the evidence presented at the Hearing and

the Debtor’s failure to appear in this case.

        For the reasons stated on the record, and based on good cause shown, it is hereby

        1.      ORDERED that the Motion is GRANTED. It is further

        2.      ORDERED that, pursuant 11 U.S.C. §§ 105 and 1104, the United States Trustee

shall appoint a Chapter 11 Trustee in this case. It is further

        3.      ORDERED that the United States Trustee is directed to appoint a Chapter 11

Trustee in this case as expeditiously as is reasonably possible, in light of the circumstances in this

case adduced at the Hearing It is further

        4.      ORDERED that the Clerk of Court is directed to serve this Order on all creditors

and parties in interest.



                                    ### END OF ORDER ###




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 Prepared and presented by:                    Reviewed as to Form Only:

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                                DISTRIBUTION LIST

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      All parties on the mailing matrix in this case




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